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                             .UNITED STATES DISTRICT COURT                        OCT 13 2021
                              EASTERN DISTRICT OF MISSOURI
                                                                                 U. S. DISTRICT COURT
                                    EASTERN DIVISION 1                         EASTERN DISTRICT OF MO
                                                              I                         ST. LOUIS
UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )
vs.                                                  )
                                                     )        4:21CR00553 SRC/PLC
CHARLES ANDERSON,                                    )
                                                     )
                       Defendant.                    )

                                         INDICTMENT

                                          COUNT ONE

      The Grand Jury charges that:

      On or about September 17, 2021, in the City of St. Louis, within the Eastern District of

Missouri,

                                     CHARLES ANDERSON,

the Defen_dant herein, knowingly possessed ammunition, knowing he had previously been

convicted in a court of law of one or more crimes punishable by a term of imprisonment exceeding

one year, and the ammunition previously traveled in interstate or foreign commerce during or prior

to being in Defendant's possession of same.

      In violation of Title 18, United States Code, Section 922(g)(l).


                                                             A TRUE BILL

                                                             FOREPERSON
 SAYLER A. FLEMING
1United States Attorney




MATTHEW A. MARTIN, #64000MO
Assistant United States Attorney
